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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

ARRON MICHAEL LEWIS
ADC #151373                                                    PLAINTIFF

v.                     No. 2:20-cv-184-DPM-JTK

GREG RECHCIGL, Health Services
Administrator, WellPath; TRACY
BENNETT, APN; TERRI MOODY,
Nurse Practitioner; OJIUGO
MIENNAYA IKO, Medical Doctor;
MORRIS, Nurse; MEREDITH TURNER,
Licensed Practical Nurse; LAQUERIUS
LEFLORE, LPN; KATRINA ANDERSON,
Nurse; NATASHA CHILDERS, Nurse;
MARTHA HALL, LPN; PILGRIM, Nurse;
and OLIVER, Nurse                                          DEFENDANTS

                                ORDER
     The Court adopts Magistrate Judge Kearney's unopposed partial
recommendation, Doc. 5;       FED.   R.   CIV.   P. 72(b) (1983 addition to
advisory committee notes). Lewis's claims against Morris, Anderson,
Childers, Hall, Pilgrim, and Oliver are dismissed without prejudice.
     So Ordered.


                                  D .P. Marshall Jr~
                                  United States District Judge
